 Case 1:20-cv-00412-NT Document 1-1 Filed 11/04/20 Page 1 of 3             PageID #: 4


                                       STATE OF MAINE
STATE OF MAINE                                                   CIVIL ACTION
DISTRICT COURT                                                   DOCKET NO.
SOMERSET, SS.




Gregory Paul Violette,



                 Plaintiff,



Vs.                                                 PLAINTIFF'S CIVIL COMPLAINT
                                                    CONTRACT




Click Bank,
Defendant.




                                PLAINTIFF'S CIVIL COMPLAINT



          NOW COMES the Plaintiff, Gregory Paul Violette and states as follows:

      •     On or about, August 29, 2020, 1 ordered from Click Bank their product
            Resurge, I ordered three bottles.
      •     On or about September 3, 2020, 1 got the three bottles of Resurge from
            Click Bank. Both Barbara Crawford and I started taking the Resurge on
            September 3, 2020.
  •        The Resurge was to help us get better sleep and was to make our needed
           sleep decrease to about 7 to 8 hours a night and start losing weight.
  •         Barbara and I used the Resurge from September 3, 2020, until September


                                                1
  Case 1:20-cv-00412-NT Document 1-1 Filed 11/04/20 Page 2 of 3       PageID #: 5




       18, 2020, taking four pills each, one hour before bedtime. Barbara
                                                                            and I did
       NOT get less sleep each night, Barbara was still sleeping her 9 to
                                                                          10 hours a
       night, my sleep increased from 6 hours to 8 hours a night. Both Barbar
                                                                               a
       and I did NOT notice that we were getting better sleep, NOT TRUE!

    • . Barbara and i did NOT loss any weight. Our weight stayed about
                                                                       the same,
       NO decease in our weight.
   •   Click Bank advertised that Resurge would decrease our needed
                                                                    sleep and
       that was NOT true.
   •   Click Bank advertised that Resurge would decrease our weight withou
                                                                              t
       dieting or and workout whatsoever, we did NOT loss any weight
                                                                       .
   •   I have sent back one full bottle of Resurge and one empty bottle
                                                                         and one
       bottle that was opened and returned. Click Bank has refused to
                                                                      honor their
       30-day refund policy.




                                   CONCLUSION




   Plaintiff prays that the court will award Plaintiff punitive damages
                                                                        and
exemplary damages in the amountof $550,000.00 because of Defen
                                                                        dant's
unfairly dealing with our contractand their false advertising. I
                                                                 also ask the
court to award attorney fees and court cost and any other relief that
                                                                       the
court deems just.




                                        2
 Case 1:20-cv-00412-NT Document 1-1 Filed 11/04/20 Page 3 of 3   PageID #: 6




Dated at Madison, Maine this 24th day of September 2020.




                   r—-—




     Gregory Paul Violette, Plaintiff
     21 Summer St.
     Madison, Maine 04950
     Phone Number: 207-399-7567




                                        3
